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Attomey for Plaintiffs

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

BOARD OF TRUSTEES OF THE
AIRCONDITIONING AND
REFRIGERATION INDUSTRY HEALTH
AND WELFARE TRUST FUND; BOARD
OF TRUSTEES OF THE
AIRCONDITIONING AND
R_EFRIGERATION INDUSTRY
RETIREMENT TRUST FUND; BOARD
OF TRUSTEES OF THE
AIRCONDITIONING AND
REFRIGERATION INDUSTRY DEFINED
CONTR_IBUTION RETIREMENT PLAN,

Pla`mt:iffs,

VS.
SIDS AIR CONDITIONING, HEATING
AND REFRIGERATION, INC.; RODNEY
ERNIE ARZU; and, DOES 1 THROUGH
20,

Defendants.

 

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Case No.

COMPLAINT FOR DAMAGES FOR
BREACH 0F coLLEcTIvE
BARGAlNING AGREEMENT;
BREACH oF TRUST AGREEMENT;
MISUSE 0R MISAPPROPRIATION 0F
EMPLOYEE BENEFIT PLAN ASSETS;
AND MULTIPLE vIOLATIONS 0F
THE EMPLOYEE RETIREMENT
INCOME SECURITY ACT 01= 1974
(ERISA)

Plaintiffs, Board of Trustees of the Airconditioning and Refrigeration Industry Health and

Welfare Trust Fund ("Health Fund"), Board of Trustees of the Airconditioning and Refrigeration

Industry Retirement Trust Fund ("Retirement Fund") and Board of Trustees of the Airc:ondi'ci¢::»ningl

 

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and Refrigeration Industry Defined Contribution Retirernent Plan ("401(k) Plan") (collectively the
"Trust Funds" allege as follows:
JURISDICTION AND VENUE

l. Jurisdiction in this Court is based on Section 502(e)(1) of the Employee Retirement
Incorne Security Act of 1974, as amended ("ERISA"), 29 U.S.C. §l 132(e)(1), which grants United
States District Courts exclusive jurisdiction over civil actions brought by a fiduciary pursuant to
Sect;ion 502(a)(3) of ERISA, 29 U.S.C. §l l32(a)(3), to redress violations or enforce the terms of
ERISA or an employee benefit plan governed by ERISA. Such jurisdiction exists without respect
to the amount in controversy or the citizenship of the parties, as provided in Section 502(0 of
ERISA, 29 U.S.C. §1 132(1).

2. Jurisdiction is also based on Section 301(a) of the Labor Management Relations Act,
1947, as amended ("LMRA"), 29 U.S.C. §135(a), which grants the district courts original
jurisdiction over suits for Violations of contracts between an employer and a labor organization in
an industry affecting commerce, without respect to the amount in controversy and the citizenship
of the parties

3. Venue is proper in this Court pursuant to Section 502(e)(2) of ER_ISA, 29 U.S.C.
§1132(e)(2), and Section 301(a) of the LMRA, 29 U.S.C. § 185(a), in that this is the district in
which the Trust Funds are administered, the signatory local unions maintain their oft`ices, and

where the relevant acts took place.

PARTIES
The Trust Funds

4. The Trust Funds are jointly trusteed labor-management trust funds created and
maintained pursuant to Section 302(c)(5) of the LMRA, 29 U.S.C §186(c)(5). The Retirement
Fund, the 401(k) Plan and the Nat;ional Pension Fund are employee pension benth plans as
defined in Section 3(2) of ERISA, 29 U.S.C. §1002(2). The Health Fund and the International
Training Fund are employee welfare benefit plans as defined in Section 3(1) of ERISA, 29 U.S.Ci

 

 

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§1002(1). The Trust Funds are also multi - employer plans as defined in Section 3(37)(A) of
ERISA, 29 U.S.C. §1002(37)(A)

5. The Trust Funds were created pursuant to separate agreements and declarations of trust
("Trust Agreements") executed and maintained pursuant to collective bargaining agreements
between the United Association of Journeymen and Apprentices of` the Plumbing and Pipe Fitting
Industry, AFL-CI(), Local No. 250 ("Local 250"), and employers and employer associations in
Southern California's air conditioning and refrigeration industry, an industry affecting commerce

6. The Trust Funds are funded by contributions from employers who are bound to these
collective bargaining agreements, except for the 401 (k) Plan, which is funded by employees and
paid from employee wage deductions made by their employers that are then transmitted by these
employers to the Trust Funds.

7. The Trust Funds are administered by Boards of Trustees, whose members are the
plaintiffs herein and are "fiduciaries" with respect to the Trust Funds within the meaning of Section
3(2l)(A) of ERISA. 29 U.S.C. §1002(21)(A)

8. The administrative offices of the Trust Funds are located at 3500 Orangewood Ave.,
Orange, CA 92868, within the jurisdiction of this Court.

Corporate Defendants

9. Defendant SID’S AIR CONDITIONING, HEATING AND REFRIGERATION, INC.
is a corporation organized and existing under the laws of the State of Calif`omia, and a contractor
licensed as such by the State of California. SID’S AIR CONDITIONING, HEATING AND
REFRIGERATION, INC. is an "employer" within the meaning of Section 3(5) of ERISA, 29
U.S.C. §1002(5), and within the meaning of Section 501(3) of the LMRA, 29 U.S.C. §142(3), and
is engaged in commerce in an industry or activity affecting commerce within the meaning of
section 3(11)aiid(12)nfER1sA,29 U.s.C. §1002(1 1) and (12), and within the meaning nfseciinn
501(1) of the LMRA, 29 U.S.C. §142(1). SID’S AIR CONDITIONING, HEATING AND
REFRJGERATION, INC. maintains its principal place of business at 5654 West Pico Blvd., Los
Angeles, Calif`ornia 90019, within the jurisdiction of` this Court.

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10. At all times material herein SID’S AIR CONDITIONING, HEATING AND
REFRIGERATION, INC. has been bound to written collective bargaining agreements between
Local No. 250 and the Air Conditioning and Refrigeration Contractors of America / Mechanical
Contractors of` America (ARCA/MCA) hereinafter referred to as the "Bargaining Agreement“.

ll. The Bargaining Agreement covers employees in units appropriate for collective
bargaining who perform service and/or construction and construction-related work in the ain
conditioning and refrigeration industry. The Bargaining Agreement fully incorporates the Trust
Agreement for the Trust Funds, which are and have at all times material herein been third-party
beneficiaries of the Bargaining Agreement.

The Individual Defendants

l2. Plaintif`fs are informed and believe, and thereon allege, that defendants RODNEY
ERN]E ARZU is an officer, director, controlling shareholder and beneficial owner of` SID’S AIR
CONDITIONING, HEATING AND REFRIGERATION, INC. and resides within the Central
District.

13. Plaintiffs are informed and believe, and thereon allege, that the lndividual Defendant
is responsible for running the day-to-day operations of SID’S AIR CONDITIONING, HEATING
AND REFRIGERATION, INC._. and is responsible for all decisions as to the payment of
contributions to the Trust Funds.

14. Specifically, the Trust Funds are informed and believe and thereon allege, that the
Individual Defendant acted on behalf of and in the interest of SlD’S AIR CONDITIONING,
HEATING AND REFRIGERATION, INC. in all aspects of labor relations and in its dealings and
relations with the Trust Funds, including but not limited to determining which employees SID’S
AIR CONDITIONING, HEATING AND REFRIGERATION, INC. would report to the Trust
Funds, the number of hours upon which contributions would be reported as owing, and the amount
of contributions that would be paid. The Individual Defendant authorized and made payments of
employee benefit plan contributions from SID’S AIR CONDITIONING, HEATING AND
REFRIGERATION, INC. to the Trust Funds.

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15. The Individual Defendant is the employer or agent of an employer engaged in
commerce and in an industry or activity affecting commerce as defined in Section 501(1) and (3)
of the LMRA, 29 U.S.C. §142(1) and (3), and within the meaning of Section 301(a) of the LMRA,
29 U.S.C. §185(a), or the agent acting in the interest of such an employer as defined in Section
501 (3) of the LMRA, 29 U.S.C. §l42(3). The individual Defendant is also an employer within the
meaning of Section 3(5) of ERISA, 29 U.S.C. §1002(5) and is thus obligated to make contributions
to a “multi-employer plan" within the meaning of 29 U.S.C. §l 145.

16. The Trust Funds are informed and believe, and thereon allege, that the individual
Defendant is the alter ego of SID’S AIR CONDITIONING, HEATING AND REFRIGERATION,
INC. based upon the following:

(a) the Individual Defendant has failed to show proper respect to the separate identity of
SID’S AIR CONDITIONING, HEATING AND REFRIGERATION, INC.

(b) the Individual Defendant has demonstrated fraudulent intent with respect to SID’S AIR
CONDITIONING, HEATING AND REFRIGERATION, INC. either at the time of its formation
by, among other things, failing to adequately capitalize SID’ S AlR CONDITIONING, HEATING
AND REFRIGERATION, INC. or, subsequent to its fonnatiom by abusing its corporate form;

(c) the purposes of ERISA and the LMRA will be frustrated if the fiction of the separateness
between SID’S AIR CONDITIONING, HEATTNG AND REFRIGERATION, INC. and the
Individual Defendant is recognized and perpetuated; and,

(d) recognition of the corporate entity would result in substantial injustice to the Trust
Funds because, without employer contributions, the Trust Funds will be inadequately funded1 and
will be unable to meet their obligations to participating employees who have contributed to the
Trust Funds over the years.

17. The Tl'ust Funds are informed and believe, and thereon allege, that at all relevant times
the Individual Defendant has been the qualifying individual for state licensing and bond purposes,
and responsible managing officer of SID’S AIR CONDITIONING, HEATING AND
REFRIGERATION, INC.

 

 

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18. The Trust Funds are informed and believe, and thereon allege, that at all relevant times
the Individual Defendant was a partner, joint venturer, actual and ostensible agent, and
representative of SID’ S AIR CONDITIONING, HEATING AND REFRIGERATION, INC. . and,
in doing the acts alleged, was acting on behalf of such partnership and joint venture, and within
the course and scope, and the apparent course and scope, of such agency and representation and
on behalf of such partnership and joint venture.

THE OBLIGATION TO REPORT AND CONTRIBUTE

19. Air conditioning and refrigeration contractors like SID’S AIR CONDITIONING,
I-IEATING AND REFRIGERATION, INC. employ air conditioning and refrigeration employees
to install and service air conditioning and other systems. The Bargaining Agreement sets forth the
terms and conditions of employment for persons who perform such work in the air conditioning
and refrigeration industry. Such persons form a unit appropriate for bargaining and are "covered
employees."

20. Under the Bargaining Agreement and the Trust Agreernents of the Trust Funds, an
employer is required to furnish a combined monthly contribution report setting forth the identities
and social security numbers of its covered employees, the hours worked by such covered
employees, and the total amount of contributions owing to the Trust Funds on behalf of such
covered employees The employers monthly contributions to the Trust Funds are calculated by
determining the total number of hours worked by each covered employee, and multiplying all such
hours by the prescribed hourly contribution rates set forth in the Bargaining Agreement. Such
contributions are due by the tenth day of the month following the month worked and become
delinquent if not paid by the fifteenth day of such month.

21. The Bargaining Agreement, Trust Agreement andfor written policy of the Trust Funds
provide that an employer shall be liable to the Trust Funds for interest of l2% on Unpaid
contributions

22. The Bargaining Agreement, Trust Agreements and/or written policy of the Trust Funds

provide that an Employer who fails to pay the amounts required by the Collective Bargaining

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Agreement within five (5) calendar days of the due date shall be obligated to pay liquidated
damages for each monthly report or payment due in the amount of ten percent (10%) of the amount
due or three hundred fifty dollars ($350), whichever is greater.

23. The Bargaining Agreement, Trust Agreenient and!or written policy of the Trust Funds
provide that an employer shall be liable to the Trust Funds for any costs incurred in, or relating to,
the collection of any contributions and delinquency fees due the Trust Funds, including reasonable
attorney's fees, court costs, interest, and other expenses incurred in the enforcement of collection.

24. Because contributing employers themselves calculate and prepare the monthly reports,
the Trust Funds must rely upon the honesty of employers and their accuracy in reporting the hours
worked and contributions owed on behalf of their covered employees

25. The Bargaining Agreement, Trust Agreement andfor written policy of the Trust Funds
states that unpaid contributions are vested assets of the Trust Fund on the day they become due or
delinquent

THE FAILURE TO PROPERLY REPORT AND PAY CONTRIBUTIONS

26. At this time Defendants have failed to pay all contributions due to the Trust Funds fort
hours worked by covered employees for the work months of April, 2016 through April, 2017.

27. Based on information and belief Defendants, owe the Trust Funds liquidated damages,
interest, and late filing fees for said delinquent months in an amount which is unknown to plaintiffs
but will be established at trial or an earlier stage of the proceedings

28. Defendants were given timely written notice of the above stated delinquencies,
including demand for payment and intent to file suit, but have failed to pay the amounts demanded

29. SID’S AIR CONDITIONING, HEATING AND REFRIGERATION, INC. and the
Individual Defendant are fully aware of the obligation to make contributions on behalf of covered
work performed by employees of SID’S AIR CONDITIONING, I-IEATING AND
REFRIGERATION, lNC., and the obligation to submit accurate remittance reports and submit to
an audit, as set forth herein, and are equally aware of their failure to make such contributions

FIRST CAUSE OF ACTION

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For Breach of Collective Bargaining Agreement

30. Plaintiffs allege, and incorporate herein by reference, each and every allegation set forth
in paragraphs 1 through 29 above.

31. The failure of SID’S AIR CONDITIONING, HEATING AND REFRIGERATION,
INC. to pay contributions and other sums when due are violations of the Bargaining Agreement.
As a direct result, SID’S AIR CONDITIONING, HEATING AND REFRIGERATION, INC. hasi
become indebted to the Trust Funds for contributions and other sums, and will become indebted
to the Trust Funds for additional contributions and other sums as alleged above, and which will be
established at trial or an earlier stage of the proceedings The Individual Defendant as an employer
within the meaning of ERISA and LMRA, and also as the alter ego, partner, or joint venturer of
SID’S AIR CONDITIONING, HEATING AND REFRIGERATION, INC. is jointly and severally
liable for such damages

32. 'Ihe Trust Funds are informed and believe, and thereon allege, that additional
delinquencies have occurred both before and after the date of this complaint, and that such
delinquencies are continuing As a direct result, SID’S AIR CONDITIONING, HEATING AND
REFRIGERATION, INC. has become and will become indebted to the Trust Funds for additional
contributions and other sums in an amount which will be established at trial or an earlier stage of
the proceedings

WHEREAS, Plaintiffs request judgment against Defendants and each of them, as set forth

below.

SECOND CAUSE OF ACTION
For Breach of Trust Agreement

33. Plaintiffs allege, and incorporate herein by reference, each and every allegation set forth
in paragraphs l through 32 above.

34. The failure of SlD’S AIR CONDITIONING, HEATING AND REFRIGERATION,
INC. to pay such contributions and other sums to the Trust Funds on the dates on which such
contributions and other surns were due are violations of the Trust Agreement. As a direct result,

SID’S AIR CONDITIONING, HEATING AND REFRIGERATION, INC. has become indebted

 

 

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to the Trust Funds for contributions and other sums, and will become indebted to the Trust Funds
for additional contributions and other sums which will be established at trial or an earlier stage of
the proceedings

35. The Individual Defendant is an employer within the meaning of ERISA and the
LMRA, and also as the alter ego, partner or joint venturer of SID’S AIR CONDITIONING,
HEATING AND REFRIGERATION, INC. is jointly and severally liable.

WHEREAS, Plaintiffs requestjudgment against Defendants, and each of them, as set forth

below.

THIRD CAUSE ()F ACTION
For Violations of ERISA

36. Plaintiffs allege, and incorporate herein by reference, each and every allegation set forth
in paragraphs 1 through 35 above.

37. By engaging in the acts described above, SID’S AIR CONDITIONING, HEATING
AND REFRIGERATION, INC. has violated the terms of the Trust Agreement, and thereby has
violated certain provisions of ERISA including Section 515,29 U.S.C. §1l45. As a direct result,
SID’S AIR CONDITIONING, HEATING AND REFRIGERATION, INC. has become indebted
to the Trust Funds for contributions and other sums, and will become indebted to the Trust Funds
for additional contributions and other sums which will be established at trial or an earlier stage of
the proceedings

38. Because SID’S AIR CONDITIONTNG, HEATING AND REFRIGERATION, INC.
acted with malice, oppression and conscious disregard of the rights of the Trust Funds, the Trust
Funds are entitled to, and seek an award of punitive damages as an appropriate legal remedy
available under Section 502(g){2)(E) of ERISA, 29 U.S.C. §1132(g)(2)(E), in an amount deemed
appropriate by the Court.

WHEREAS, Plaintiffs request judgment against Defendants and each of them, as set forth
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FOURTI-I CAUSE OF ACTION

Damages for Misuse or Misappropriation of

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Assets of Employee Benefit Plans

39. Plaintiffs allege, and incorporate herein by reference, each and every allegation set forth
in paragraphs l through 38 above.

40. The employee benefit plan contributions which defendants have failed andfor rehised
to pay as herein alleged are assets of the Trust Funds within the meaning of Subtitle A (29 U.S.C.
§§ 1001-1003) and Parts1(29 U.S.C. §§1021 1031) and 4 (29 U.S.C. §§1101-1114)ofSubtitle B
of Title I of ERISA, and 18 U.S.C. §664.

41. The Individual Defendant was and is directly responsible for, and caused, the failures
to report and pay to the Trust Funds the delinquent employee benefit plan contributions referenced
herein, in violation of` 18 U.S.C. §664.

42. Plaintift`s are entitled to damages for defendants‘ violations of 18 U.S.C. § 664 in
amounts to be proven at trial or an earlier stage of the proceedings

WHEREAS, Plaintiffs request judgment against Defendants and each ofthem, as set forth

bclow.

FIFTH CAUSE OF ACTION
Damages For Breach of Fiduciary Duties in Violation of ERISA

43. Plaintiff`s allege, and incorporate herein by reference, each and every allegation set forth
in paragraphs l through 42 above.

44. At all times material herein the Individual Defendant was a fiduciary with respect to
the Trust Funds within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C. §1002(21)(A), in
that he exercised discretionary authority or control respecting management or disposition of assets
of the Trust Funds.

45. By engaging in the acts and omissions to act described herein, the Individual Defendant
breached his fiduciary duties with respect to the Trust Funds within the meaning of Section
404(a)(l )(A) of ERISA, 29 U.S.C. §1104(a)(l)(A).

46. Pursuant to Section 409 of ERISA, 29 U.S.C. §1109, the Individual Defendant is

personally liable to the Trust Funds for any losses resulting from each such breach of his fiduciary

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duties, and to restore to the Trust Funds any profits which have been realized through defendants
use of assets of the Trust Funds in amounts which are presently unknown to plaintiffs but which
will be established at trial or an earlier stage of the proceedings

47. The Trust Funds request that they be awarded their costs of suit and reasonable
attorney's fees pursuant to Section 502(g)(1) of ERISA, 29 U.S.C. §1132(g)(1).

WI-[EREAS, Plaintiffs request judgment against Defendants, and each ofthem, as set forth
below.

SIXTH CAUSE OF ACTION

Damages For Wrongful Diversion of
Assets of Employee Benefit Plans in Violation of ERISA

 

48. Plaintiffs allege, and incorporate herein by reference, each and every allegation set forth
in paragraphs 1 through 47 above.

49. By engaging in the acts and omissions to act described herein, the Individual Defendant
caused assets of the Trust Funds to inure to the benefit of SID’S AIR CONDITIONING,
HEATING AND REFRIGERATION, INC. and to not be held for the exclusive purposes of
providing benefits to participants of the Trust Funds and their beneficiaries and defraying
reasonable expenses of administering the Trust Funds in violation of Section 403(0)(1) of ERISA,
29 U.S.C. §1103(0)(1).

50. Pursuant to Section 409 of ERISA, 29 U.S.C. §1109, the Individual Defendant is
personally liable to make good to the Trust Funds any losses resulting from the above-referenced
wrongful diversion of assets of the Trust Funds, and to restore to the Trust Funds any profits which
have been made through their use of assets of the Trust Funds, in amounts Which will be established
at trial or an earlier stage of the proceedings

51. The Trust Funds request that they be awarded their costs of suit and reasonable
attorney's fees pursuant to Section 502(g)(1) of ERISA, 29 U.S.C. §l 132(g)(l).

WI'IEREAS, Plaintiffs request judgment against Defendants, and each of them, as set forth

below.
SEVENTH CAUSE OF ACTION

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Damages for Prohibited Transactions in Violation of ERISA

52. Plaintiffs allege, and incorporate herein by reference, each and every allegation set forth
in paragraphs 1 through 51 above.

53. By engaging in the acts and omissions to act described herein, the Individual Defendant
dealt with assets of the Trust Funds in their interest or for their own accounts, in violation of
Section 406(b)(l) of ERlSA, 29 U.S.C. §1l06(b)(l).

54. Pursuant to Section 409 of ER_ISA, 29 U.S.C. §1109, the Individual Defendant is
personally liable to make good to the Trust Funds any losses resulting from the above~referenced
prohibited transactions and to restore to the Trust Funds any profits which have been made through
defendants1 use of assets of the Trust Funds, in amounts which will be established at trial or an
earlier stage of the proceedings

55. The Trust Funds request that they be awarded their costs of suit and reasonable
attorney's fees pursuant to Section 502(g)(l) of ERISA, 29 U.S.C. §l l32(g)(1).

WI-IEREAS, Plaintiffs requestjudgment against Defendants, and each of them, as set forth

below.

EIGHTH CAUSE OF ACTION
Darnages for Alter Ego Violations

Establishing Liahility for Individual Defendants

5 6. Plaintiffs allege, and incorporate herein by reference, each and every allegation set forth
in paragraphs l through 55 above.

57. Pursuant to the above alter ego violations the Individual Defendant cannot take
advantage of the corporate form and is therefore personally liable for all amounts owed to the Trust
Funds pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. §1132(g)(2).

58. Because the Individual Defendant acted with malice, oppression and conscious
disregard of the rights of the Trust Funds, the Trust Funds are entitled to and seek an award of
punitive damages as an appropriate legal remedy available under Section 502(g)(2)(E) of ER_ISA,
29 U.S.C. §l 132(g)(2)(E), in an amount deemed appropriate by the Court.

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AS FOLLUWS:

 

 

WHEREFORE PLAINTIFFS PRAY FOR JUDGMENT AGAINST DEFENDANTS

As to all Causes of Action:

 

l. For payment of delinquent contributions, liquidated damages, interest, audit fees
and costs from Defendants for all months that Defendants are delinquent as of the time of
trial, in an amount which is presently unknown to the Trust Funds, but which the Trust
Funds will establish by proof.

2. F or reasonable attomey's fees and costs of suit.

3. Por prejudgment interest pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. §,
1132(g)(2), and post-judgment interest in accordance with the Bargaining Agreement, the
Trust Agreements and law, in an amount presently unknown to the Trust Funds, but which
will be established at the time of trial.

4. For such other and further relief as to this Court may deem proper.

As to the First. Second and Third Causes of Action:
As to the Third and Eighth Causes of Action Only:

1. For payment of punitive damages in an amount to be determined

Dated: March 25, 2019 Respectfully submitted,

Ljaef<'R. Wiikerson
Attorney for Plaintiffs

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